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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
_________________________________________

S.M., individually and on behalf of S.M.,
                                                                      COMPLAINT
               Plaintiff,
                                                              Case No. 1:20-cv-02394

       - against -

New York City Department of Education

               Defendant.

_________________________________________


S.M., individually and on behalf of S.M., a child with a disability, for her complaint

hereby alleges:

       1. This is an action brought pursuant to the fee shifting provisions of the

Individuals with Disabilities Education Improvement Act ("IDEA"), 20 U.S.C.

§1415(i)(3).

       2. At all times relevant to this action, Plaintiff S.M. and her daughter S.M.

resided within the territorial jurisdiction of the defendant New York City Department of

Education ("Defendant" or "Department").

       3. Plaintiff S.M. is the parent of a child with a disability as defined by IDEA, 20

U.S.C. §1401(3)(A).

       4. Defendant is a local educational agency as defined by IDEA, 20 U.S.C.

§1401(19), and, as such, is obligated to provide educational and related programs and

services to its students in compliance with the applicable federal and state statutes,
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regulations, and the U.S. Constitution, and is subject to the requirements of 20 U.S.C.

§1400 et seq. and the regulations promulgated thereunder.

JURISDICTION AND VENUE

       5. Jurisdiction is predicated upon 28 U.S.C. §1331, which provides the district

courts with original jurisdiction over all civil actions arising under the laws of the United

States, and upon the fee-shifting provision of IDEA, 20 U.S.C. §1415(i)(3)(A), which

provides that the district courts of the United States shall have jurisdiction of actions

brought under section 1415(i)(3) without regard to the amount in controversy.

       6. Venue is predicated upon 28 U.S.C. §1391(b)(1) based upon the residence of

the defendant, and upon 28 U.S.C. §1391(b)(2) based upon the location of the subject

matter of this action.

FACTUAL BACKGROUND AND EXHAUSTION OF ADMINISTRATIVE
PROCESS

       7. By letter dated June 10, 2019, Plaintiff S.M. requested a due process hearing

on behalf of S.M. pursuant to 20 U.S.C. §1415(f)(1).

       8. Plaintiff S.M. sought a determination that the Department had denied her

daughter a free appropriate public education, an order for compensatory educational

services, and such other relief as the impartial hearing officer would determine to be fair

and just.

       9. Impartial Hearing Officer ("IHO") Helene Peyser was assigned to the case.

       10. An impartial hearing was conducted on January 14, 2020.

       11. Following the close of hearing, the IHO issued a decision (“IHO Decision”)

dated February 4, 2020.
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        12. The IHO found that the Department had denied the student a free appropriate

public education for the 2018-2019 school year and ordered the Department to provide

direct funding to the Pathway Study Center for tuition for the 2018-2019 school year in

an amount no greater than $62,880.80; and reimburse S.M. for payments made towards

tuition at Pathway Study Center for the 2018-2019 school year at a cost no greater than

$500.

        13. Neither party appealed the decision of the IHO. Thus, the decision is final.

        14. Plaintiff is a prevailing party by virtue of the IHO's decision.

FIRST CAUSE OF ACTION

        15. Plaintiff repeats and realleges paragraphs 1 through 14 as if more fully set

forth herein.

        16. Plaintiff has submitted to the Department a request for payment for services

rendered ("attorney fee claim").

        17. Plaintiff has attempted, without success, to resolve the attorney fee claim.

        18. Settlement negotiations have not occurred because Respondent has been

unresponsive to attempts to initiate settlement discussions.

        19. Plaintiff hereby demands reasonable attorney fees and expenses pursuant to

20 U.S.C. §1415(i)(3) for services rendered on the above noted administrative

proceedings.

        20. Defendant has not satisfied its obligation to pay attorney fees in a timely

fashion. Thus, Plaintiff demands prejudgment interest.

SECOND CAUSE OF ACTION
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       21. Plaintiff repeats and realleges paragraphs 1 through 20 as if more fully set

forth herein.

       22. Plaintiff hereby demands reasonable attorney fees and expenses for services

rendered on this action.



       WHEREFORE, Plaintiff respectfully requests that this Court:

       (1) Assume jurisdiction over this action;

       (2) Award to the Plaintiff costs, expenses, and attorney fees together with

prejudgment interest for the administrative proceedings pursuant to 20 U.S.C. §1415;

       (3) Award to Plaintiff the costs, expenses, and attorney fees of this action

pursuant to 20 U.S.C. §1415; and

       (4) Grant such other and further relief as the Court deems just and proper.


Dated: March 18, 2020
       New York, New York

                                                                              Respectfully,

                                                                       /s/ Adam Dayan
                                                   _________________________________
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